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                                        EXHIBIT 1
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                       Claims                              Plaintiffs   2.05   2.06   2.07   3.04   3.09   3.10   3.12   3.13   3.15   4.01   4.02   4.06   4.07   4.09   4.12   5.01   5.02   5.03   5.04   5.06   5.07   5.08   5.10   5.11   5.12   5.13   5.14   6.01   6.03   6.04   6.05   6.06   6.07   7.02   7.04   8.01
                                                            LUPE                                                                                                                                                                                                             X      X      X      X                    X
  14th and 15th Amendments Intentional Discrimination     HAUL/MFV       X      X      X      X      X      X      X      X      X      X             X      X      X      X             X      X      X             X      X             X      X      X      X      X      X      X      X      X      X      X      X
                                                            LUPE                                                                                                                                                                                                             X      X      X      X                    X
                                                          HAUL/MFV       X      X      X      X      X      X      X      X      X      X                    X             X             X      X      X             X      X             X      X      X      X      X      X      X      X             X      X      X
                     Section 2 VRA                          LULAC                             X      X      X      X      X                                                              X      X                    X      X                                                                                          X
                                                            LUPE                                                                                                                                                     X                                  X                    X      X      X      X                    X
                                                          HAUL/MFV                            X      X      X      X      X             X                    X             X             X      X      X             X      X                           X             X      X             X             X      X      X
1st and 14th Amendments: undue burden on the right to vote LULAC                                                                                                                         X      X                    X      X
                                                            LUPE                                                                                                                                                                                                             X      X      X      X                    X
                                                          HAUL/MFV                                                                                                                                                                                                    X      X      X      X             X
                                                            LULAC                                                                                                                                                                                                                                                      X
                    § 208 of the VRA                         OCA                                                                                                                                                                                                                                  X
                                                            LUPE                                                                                                                                                                                                             X      X      X      X                    X
                                                          HAUL/MFV                                                                                                                       X      X             X      X             X                                         X      X      X             X
                   Title II of the ADA                       OCA                                                                                                                         X      X                    X             X             X                                  X
                                                             LUPE                                                                                                   X                                                                                                                                                  X      X
                                                          HAUL/MFV                                                                                    X      X      X
           14th Amendment: void for vagueness                OCA                                                                                                                                                                                                                                                       X
                                                             LUPE                                                                                                                                                                                                                                                      X
                                                            LULAC                                                                                                                                                                                                                                                      X
          1st and 14th Amendment: Free Speech                OCA                                                                                                                                                                                                                                                       X
                                                          HAUL/MFV                                                                                                                       X      X             X      X             X                                         X      X      X             X
       Section 504 of the Rehabilitation Act of 1973         OCA                                                                                                                         X      X                    X             X             X                                  X
                                                              DOJ                                                                                                                                                    X                                  X
        Section 101 of the Civil Rights Act of 1964          OCA                                                                                                                         X      X                    X             X             X
